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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

BAYER CROPSCIENCE and
MONSANTO TECHNOLOGY LLC,                          )
                                                  )
        Plaintiffs,                               )
                                                  )
   v.                                             )          No. 4:23-cv-00083-JAR
                                                  )
BRIAN G. IRIONS d/b/a BRIAN IRIONS                )
FARMS and/or IRIONS FARMS                         )
                                                  )
        Defendant.                                )

                                MEMORANDUM AND ORDER

        This matter is before the Court on Plaintiffs’ motion for summary judgment (Doc. 30) in

this case involving claims of patent infringement and breach of contract. There being no

disputed issues of material fact, the Court will grant the motion.

                                        BACKGROUND

        The uncontroverted facts are as follows. (Doc. 32, 40). Plaintiffs Bayer CropScience LP

and Monsanto Technology LLC (collectively Bayer) are Delaware companies headquartered in

St. Louis, Missouri. Bayer researches, develops, and patents biotechnologies, including

genetically engineered soybean seeds called Roundup Ready 2 Xtend and XtendFlex. Bayer’s

Roundup Ready 2 genetic trait, U.S. Patent No. 9,944,945, enables plants to tolerate glyphosate

herbicides like Roundup. Bayer’s Xtend genetic trait, U.S. Patent No. 7,838,729, enables plants

to tolerate dicamba herbicides like XtendiMax. XtendiMax is a low-volatility, selective

herbicide intended for use on crops containing Bayer’s seed technology. When applied to non-

tolerant crops (i.e., not containing Bayer’s technology), XtendiMax will destroy the plants. The

EPA conditionally registered XtendiMax in 2016 but cautioned Bayer that illegal applications of



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older dicamba formulations could jeopardize final registration. In response to crop damage

reports in 2017, Bayer amended its XtendiMax directions for use and terms and conditions,

designating the product a restricted use pesticide requiring applicator training to minimize off-

target movement.

        Bayer licenses its seed technology to individual farmers pursuant to a standard

Technology Stewardship Agreement (TSA), which permits growers to use the patented seeds for

a single planting of a commercial crop. Farmers must obtain seeds from an authorized dealer

each planting season and are prohibited from saving seeds from harvested crops for replanting in

a subsequent season. Farmers must use EPA-approved dicamba herbicides and are prohibited

from applying unapproved formulations. Farmers must also adhere to a Technology User Guide

(TUG), which is amended every year and includes a prohibition on the application of

unapproved herbicide formulations to crops containing Bayer’s patented traits. The TSA

provides that any changes to the patents and new terms of use will be mailed to the grower

annually, and continued use of the technology constitutes acceptance of the new terms.

        Defendant Brian Irions is a farmer in southeast Missouri. He entered into a TSA in 2010,

and Bayer sent him annual updates of the TSA and TUG. Since 2018, Irions has exclusively

planted soybeans containing Bayer’s Roundup Ready 2 Xtend technology. From 2020 to 2022,

Irions saved and replanted a total of 7,039 bushels1 of soybean seeds from prior harvests, in

violation of the TSA. (Doc. 32 at 7-8). The seeds were processed and treated by a third party,

Porter Seed, based in Arkansas. (Doc. 32-1 at 9). In October 2022, Bayer conducted field

inspections and sampling of Irions’ soybean farms at the direction of Dr. Fritz Koppatschek. His

team sampled 29 fields totaling 3,575.77 acres. (Doc. 32-13 at 3). Testing of those samples using



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        A bushel is 60 pounds, and there are 3,000 seeds in a pound. (Doc. 32-2 at 4).

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three different methodologies confirmed the presence of Bayer’s patented technology. (Doc. 32

at 8-16; Doc. 32-9). Additionally, during the same period, Irions applied an unapproved

herbicide called Opti-DGA to soybean crops containing Bayer’s technology. (Doc. 32 at 19). In

2022, Irions applied the unauthorized herbicide after the June 30 cut-off date. (Doc. 32 at 20).

        In January 2023, Bayer filed a complaint against Irions asserting claims of patent

infringement and breach of contract, seeking an injunction against further infringement, treble

damages, and attorney fees. In Counts I and II, Bayer pleads that Irions knowingly infringed

claims 1, 3, 5, and 7 of the ‘945 patent (Count I) and claims 1, 5, 16, 29, and 30 of the ‘729

patent (Count II) by saving and replanting seeds containing Bayer’s Roundup Ready 2 Yield,

Roundup Ready 2 Xtend, and Xtend Flex technology. In Count III, Bayer pleads that Irions

knowingly infringed claim 23 of the ‘729 patent by applying unapproved and unlabeled dicamba

herbicides to soybean plants containing Bayer’s Roundup Ready 2 Xtend and/or Xtend Flex

technology and by doing so after the June 30 cut-off date in 2022, which is prohibited by the

EPA and the State of Missouri. In Counts IV and V, Bayer pleads that Irions breached the

parties’ TSAs by saving and replanting seeds containing Bayer’s technology (Count IV) and by

applying unapproved herbicide and doing so after the cut-off date (Count V). In Count VI,

Bayer pleads that, by applying unapproved herbicides on dicamba-tolerant soybeans, Irions

interfered with Bayer’s valid business expectancies vis-à-vis the EPA and other soybean and

cotton growers who license its technology. Finally in Count VII, Bayer pleads that Irions was

negligent in applying unauthorized herbicide, causing Bayer harm insofar as illegal use leads to

more restrictive application conditions and makes it more difficult for Bayer to secure EPA

registration for its herbicides.




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       In his answer, Irions did not challenge the validity of Bayer’s patents but raised

affirmative defenses asserting, inter alia, that Bayer’s business model is anti-competitive, that

the TSAs were obtained under duress and coercion, and that Bayer’s calculation of damages is

unreasonable. (Doc. 8).

       After discovery, Bayer filed the present motion for summary judgment. (Doc. 30). Irions

filed a one-page response (Doc. 39) simply referring to Bayer’s statement of uncontroverted

material facts and admitting all material facts (Doc. 40). Irions admits that he entered into a TSA

granting him a limited use license to purchase and plant seed containing Bayer’s patented

technologies and a limited use license to apply EPA-approved dicamba herbicides on emerged

crops. He received updated copies of the TSA and TUG at his address. He understood that the

license prohibited the saving of seed for replanting, as each new generation of seed would

contain Bayer’s technology. Nevertheless, Irions saved and replanted seeds containing Bayer’s

technology in 2020, 2021, and 2022. Additionally, pursuant to the TSA, Irions agreed to use

labeled, EPA-approved pesticides on crops containing Bayer’s technology. However, in 2020,

2021, and 2022, Irions knowingly applied an unlabeled and unapproved pesticide formulation

over the top of his crops. Irions was aware of the June 30 cut-off date for the application of

dicamba herbicide over the top of his crops, but in 2022 he knowingly applied it after that date.

Irions does not advance any affirmative defenses in opposition to Bayer’s summary judgment

motion, so the Court considers the theories raised in his answer now abandoned.

       In light of the foregoing admissions, Bayer submits in reply that there are no genuine

issues of material fact in dispute, so Bayer is entitled to summary judgment as a matter of law.

(Doc. 42)




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                                           DISCUSSION

        Summary judgment is appropriate where the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.

Fed.R.Civ.P. 56(a). The nonmovant must respond by submitting evidentiary materials that set

out specific facts showing that there is a genuine issue for trial. Gannon Intern., Ltd. v. Blocker,

684 F.3d 785, 792 (8th Cir. 2012). Where the record taken as a whole could not lead a rational

trier of fact to find for the nonmoving party, there is no genuine issue for trial. Id.

        Based on Irions’ admissions, the Court must agree that Bayer is entitled to summary

judgment. Irions does not contest the validity of Bayer’s patents, which are presumed valid.

35 U.S.C. § 282(a). Nor does Irions challenge the enforceability of the TSAs. Irions admits that

he infringed the patents and breached the terms of the TSAs and TUGs by saving and replanting

Bayer’s patented seeds and applying unauthorized herbicide. Accordingly, the Court will grant

summary judgment in favor of Bayer.

        Bayer requests liquidated damages under § 3(e) of the 2020-2021 TSAs and § 3(f) of the

2022 TSA. Those provisions stipulate a royalty of $250 per infringing unit.2 The uncontroverted

facts establish that Irions planted at least 9,050.14 units of seeds saved from a prior harvest and

containing Bayer’s technology. (Doc. 40 at 9-11). Bayer thus requests liquidated damages of

$2,262,535.

        Under Missouri law, a liquidated damages provision is enforceable if the amount is a

reasonable forecast of just compensation for the harm caused by the breach, and the harm is

difficult or impossible to estimate. Bayer CropScience LP v. Calder, No. 4:23-CV-01417-SEP,

2024 WL 4764741, at *2 (E.D. Mo. Nov. 13, 2024) (awarding liquidated damages of $250 per



2
        One unit contains approximately 140,000 seeds. (Doc. 32-2 at 4).

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unit of saved soybean pursuant to Bayer’s 2023 TSA). Using a hypothetical negotiation and the

15 factors set forth in Georgia–Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116

(S.D.N.Y. 1970),3 Bayer’s expert, Mark Hoffman, estimated a reasonable royalty to be $309 per

unit of saved seed in 2020 and $307 per unit in 2021-2022 (Doc. 32-10 at 48), yielding a total

damage award of $2,782,212 (Doc. 31 at 35). Irions’ expert, Kelley Still Nichols, confirmed that

calculating a reasonable royalty is “not easy,” and different experts could produce varying

results. (Doc. 32-16 at 7). She estimated a reasonable royalty of $118, with an upper limit of

$206, averaging years 2020-2022. (Doc. 29-1 at 4-5). She estimated an upper limit of $250 for

2021 and $266 for 2022. (Doc. 29-1 at 11). Based on the foregoing figures, the Court finds the

parties’ agreement for liquidated damages of $250 per unit reasonable and enforceable. Calder,

2024 WL 4764741, at *2. Irions does not contest Bayer’s entitlement to liquidated damages of

$2,262,535 pursuant to those provisions of the 2020-2022 TSAs.

        Additionally, Bayer seeks a permanent injunction under § 3(e) of the 2020-21 TSA and

§ 3(f) of the 2022 TSA prohibiting Irions from (1) making, using, selling, or transferring any

soybean or other seed containing Bayer’s patented technologies without Bayer’s express

permission or (2) applying unapproved formulations of dicamba-based herbicides to Xtend crops




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         Those factors are: (1) royalties that a patentee receives for the patent in suit; (2) rates licensee
pays for use of other comparable patents; (3) nature and scope of the license; (4) the licensor's established
policy regarding licensing of its technology; (5) commercial relationship between the parties; (6) effect on
and extent of derivatives or convoyed sales; (7) duration and term of license; (8) established profitability
of the product made under the patent, its commercial success, and popularity; (9) utility and advantage of
the patented article over old modes; (10) nature of patented invention; character of commercial
embodiment of the patent as owned or produced by the licensor; (11) extent to which infringer has made
use of invention; (12) portion of profit or selling price customarily allowed; (13) portion of realizable
profit attributable to invention; (14) the opinion testimony of qualified experts; (15) the amount a willing
licensor and licensee would agree upon at the time of infringement, had both been reasonably and
voluntarily trying to reach agreement, including the amount of profit the licensee would be willing to
contribute to the license. Georgia-Pacific, 318 F. Supp. at 1120.


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or doing so after applicable deadlines. Put simply, Bayer seeks enforcement of its patents and

licensing agreements. A plaintiff seeking a permanent injunction must demonstrate that (1) it

has suffered an irreparable injury; (2) remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) considering the balance of hardships between the

plaintiff and defendant, a remedy in equity is warranted; and (4) the public interest would not be

disserved by a permanent injunction. eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391

(2006). In patent disputes as in other cases, the decision whether to grant injunctive relief rests

within the court’s equitable discretion. Id. at 394.

       The Court finds that a permanent injunction is appropriate here. The impermissible

recycling of patented seeds risks an uncontrolled proliferation of Bayer’s technology. Monsanto

Co. v. Hargrove, No. 4:09-CV-1628 CEJ, 2011 WL 5330674, at *6 (E.D. Mo. Nov. 7, 2011).

And the use of unauthorized herbicides jeopardizes Bayer’s EPA registration of XtendiMax and

causes harm to neighboring growers. (Doc. 40 at 22-26). Given the nature of these risks, the

potential for immeasurable future harm remains, and monetary damages are inadequate. The

balance of relative hardships between Bayer’s potential injury and Irions’ compliance clearly

favors Bayer, and the public interest is served by the enforcement of valid patents and contracts.

Irions does not contest Bayer’s entitlement to an injunction pursuant to the parties’ agreements.

The Court will grant Bayer’s request for both liquidated damages and injunctive relief.

                                         CONCLUSION

       Defendant Irions having admitted all facts set forth in Bayer’s statement of

uncontroverted material facts (Doc. 40), the summary judgment record establishes that Irions

infringed Bayer’s ‘945 and ‘729 patents and breached the 2020-2022 TSAs by saving and

replanting soybean seeds containing Bayer’s technology and by applying unapproved herbicide



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on his crops. There is no genuine dispute as to any material fact, and Bayer is entitled to

judgment as a matter of law.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs’ motion for summary judgment is

GRANTED. (Doc. 30).

       IT IS FURTHER ORDERED that judgment is entered for Plaintiffs and against

Defendant in the amount of $2,262,535 in liquidated damages pursuant to the parties’

agreements.

       IT IS FURTHER ORDERED that Defendant is permanently enjoined from (1) making,

using, saving, planting, selling, offering to sell, importing, or otherwise transferring any soybean

or other seed containing Plaintiffs’ patented biotechnologies without express written permission

and (2) applying unapproved formulations of dicamba-based herbicides to Xtend crops,

including doing so after applicable deadlines.

       Dated this 19th day of December 2024.


                                                  ________________________________
                                                  JOHN A. ROSS
                                                  UNITED STATES DISTRICT JUDGE




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